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 8                           UNITED STATES DISTRICT COURT
 9                          EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                  No. 2:10-cr-00364-MCE
12                Plaintiff,
13          v.                                  MEMORANDUM AND ORDER
14   SAKANDER AMIN and SOHAIL AMIN,
15                Defendants.
16                                    ----oo0oo----
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18          Defendants Sakander and Sohail Amin (“Defendants”) are each

19   charged with one count of Conspiracy to Distribute Over 5,000 Grams

20   of Cocaine, in violation of 21 U.S.C. §§ 846 and 841(a)(1).           They

21   have filed a Motion to Change Venue and move the instant case to

22   the Central District of California.         The Court conducted a hearing

23   on the matter on May 5, 2011.        Both at oral argument and in their

24   pleadings, Defendants argue that venue in the Eastern District of

25   California is improper, and that in the interests of justice and

26   for the convenience of the parties, the case should be transferred

27   to the Central District.

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 1   The United States (the “Government”) has several objections to

 2   Defendants’ request, and argue that venue in the Eastern District

 3   is in fact proper, since Defendants’ conduct is part of a larger

 4   conspiracy that touches and directly affects the Eastern District.

 5   For the reasons stated below, Defendants’ Motion to Change Venue is

 6   denied.

 7

 8                                      BACKGROUND

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10          Defendants are purportedly part of a larger conspiracy to

11   traffic and distribute cocaine and other drugs between the United

12   States and Canada.      Brent Boulter, not a party to the instant case,

13   was a courier who arranged a meet with Defendants in Rancho

14   Cucamonga, California (located in the Central District of

15   California).     Through a series of text messages, couriers, and

16   meetings, Defendant Sakander allegedly worked with other members of

17   the conspiracy to deliver cocaine to Boulter so he could transport

18   it to Canada.     On February 1, 2010, Defendants, Boulter, and

19   another non-party named Sulaimen Safi, were all apprehended in a

20   hotel room, and found with over $100,000 in cash.            Defendants were

21   arrested specifically for being in the process of brokering a deal

22   to purchase and deliver six kilograms of cocaine.

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 1          The Government states they can demonstrate that Mr. Boulter

 2   travelled through the Eastern District of California on his way to

 3   meet Defendants.      In addition, investigation of the larger

 4   conspiracy originated here in the Eastern District of California,

 5   large quantities of drugs have been seized in this district, and

 6   the conspiracy investigation team - comprised of United States

 7   Attorneys and law enforcement- is based here in the Eastern

 8   District.

 9

10                                       ANALYSIS

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12          Federal Rule of Criminal Procedure Rule 21(b) states that the

13   Court may transfer a proceeding “for the convenience of the

14   parties, any victim, and the witnesses, and in the interests of

15   justice.”     Such a transfer is well within the “sound discretion of

16   the trial court.”      United States v. Testa, 548 F.2d 847, 856 (9th

17   Cir. 1977).

18          A conspiracy is a continuing offense, separate from any

19   completed substantive offense.        United States v. Inafuku, 938 F.2d

20   972, 973-74 (9th Cir. 1991).        Such a continuing offense may be

21   prosecuted “in any district” where the conspiracy was “begun,

22   continued, or completed.”       18 U.S.C. § 3237(a).      Venue is proper

23   for conspiracy purposes wherever “an overt act” was committed “in

24   the course of the conspiracy.”        United States v. Angotti, 105 F.3d

25   539, 545 (9th Cir. 1997) (internal citations omitted).            A defendant

26   himself need not enter or commit an act within the district, “as

27   long as one of his co-conspirators did.”          Id.

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 1                          As stated on the record, the Court sees no reason to transfer

 2   venue to the Central District of California.                           Based upon the facts

 3   represented by both parties, the Eastern District is one of perhaps

 4   many proper venues, since this is a larger conspiracy with

 5   implications reaching across the country and outside the United

 6   States.                    Further, the Court is already familiar with the facts and

 7   issues presented in the case, as the indictment against Defendants

 8   was filed in August 2010.                       The Court fails to see how a transfer to

 9   the Central District of California would be more convenient to

10   Defendants.                     While portions of the conspiracy and the ultimate

11   arrest took place in the Central District of California, Defendants

12   do not live there, and do not appear to have any meaningful ties to

13   the area.

14

15                                                      CONCLUSION

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17                          For the reasons stated both on the record and above,

18   Defendants’ Motion to Change Venue (ECF No. 42) is DENIED.

19                          IT IS SO ORDERED.

20   Dated:                    May 10, 2011

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23                                                    __________________________________
                                                      MORRISON C. ENGLAND, JR
24                                                    UNITED STATES DISTRICT JUDGE

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